Case 2:05-cr-20056-SH|\/| Document 40 Filed 07/14/05 Page 1 Of 2 Pag_e|D 42

 

IN THE UNITED sTATEs DISTRICT coURT w BY °'°'
FoR THE: wEsTERN DIsTchT oF TENNESSEE _
wEsTERN D:cv:csroN 05 JUL llc AH|I- 05
mm._m
UNITED sTATEs oF AMERICA, MUH§TRUM

Plaintiff,
vs. CR. NO. 05-20056-Ma

WILLIE ANDRA WOODS,
TYRONE LANARD TERRY,

-._/-._/~_r~_._/~._r-_z~_r-_._¢`._,¢-._/

Defendants.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF E.'XCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Counsel requested a continuance of the trial date in order to allow
for additional preparation in the case and due to the
unavailability of defense counsel.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from June 24, 2005 through October 14, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and
3l6l(h)(8)(A)(iv) because the interests of justice in allowing
additional time to prepare and continuity' of defense counsel
outweigh the need for a speedy trial.

larf`

IT IS SO ORDERED this day of July, 2005.

SAMUEL H. MAYS, JR.

This doctment entered on the docket sheet in com |WED STATES DISTRICT JUDGE
with Rli|e 55 and/or 32fb} FHCrP on iii

 

Wm [_`SF !‘ :"rifi\.ipi`§$

46

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

J ames O. Marty

LAW OFFICE OF JAl\/[ES MARTY
245 EXchange Ave.

Memphis7 TN 38105

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable Samuel Mays
US DISTRICT COURT

